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                     Barcode:3605219-01 A-201-845 SUSP - Suspension Agreement      -




       MESSAGE NO:              7216303                  MESSAGE DATE:       08/04/2017

       MESSAGE STATUS:          Active                   CATEGORY:           Antidumping
       TYPE:                    INF-Information Notice   PUBLIC     ✔        NON-PUBLIC
       SUB-TYPE:


       FR CITE:                                          FR CITE DATE:


       REFERENCE
       MESSAGE #
       (s):

       CASE #(s):              A-201-845




       EFFECTIVE DATE:          08/03/2017               COURT CASE #:


       PERIOD OF REVIEW:                                 TO


       PERIOD COVERED:                                   TO




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NOTICE OF LIFTING Barcode:3605219-01
                   OF SUSPENSION        DATE:
                                     A-201-845 SUSP - Suspension Agreement   -




TO:{ DIRECTORS OF FIELD OPERATIONS, PORT DIRECTORS }


FROM:{ DIRECTOR AD/CVD & REVENUE POLICY & PROGRAMS }


RE:Amendment to the Agreement Suspending the Antidumping Duty Investigation on Sugar from
Mexico (A-201-845)


1. The U.S. Department of Commerce (Commerce) published in the Federal Register on
12/29/2014 (79 FR 78039) the notice of “Sugar From Mexico: Suspension of Antidumping
Investigation”, effective 12/19/2014. Imports of sugar from Mexico are subject to the terms and
conditions of the Agreement Suspending the Antidumping Duty Investigation on Sugar from
Mexico (the AD Agreement) between Commerce and signatory producers or exporters of sugar
from Mexico. See Message Number 4365304, dated 12/31/2014, and message number 5086304,
dated 3/27/2015.


2. On 07/11/2017, Commerce published in the Federal Register (82 FR 31945), an amendment to
the AD Agreement signed by Commerce and the signatory producers and exporters of Sugar from
Mexico (collectively, the amended AD Agreement). The amendment to the AD Agreement applies
to all contracts for Sugar from Mexico for the October 1, 2017 through September 30, 2018 Export
Limit Period (as defined in the amended Agreement Suspending the Countervailing Duty
Investigation on Sugar from Mexico (CVD Agreement) (79 FR 78044; 82 FR 31942)), and to all
contracts for Sugar from Mexico (regardless of Export Limit Period) exported from Mexico on or
after October 1, 2017.


3. The merchandise covered by the amended AD Agreement is raw and refined sugar of all
polarimeter readings derived from sugar cane or sugar beets. The chemical sucrose gives sugar
its essential character. Sucrose is a nonreducing disaccharide composed of glucose and fructose
linked by a glycosidic bond via their anomeric carbons. The molecular formula for sucrose is
C12H22O11; the International Union of Pure and Applied Chemistry (IUPAC) International
Chemical Identifier (InChl) for sucrose is 1S/C12H22O11/c13-l-4-6(16)8(18)9(19)11(21-4)23-
12(3-15)10(20)7(17)5(2-14)22-12/h4-11,13-20H,1-3H2/t4-,5-,6-,7-,8+,9-,10+,11-,12+/m1/s1; the
InChl Key for sucrose is CZMRCDWAGMRECN-UGDNZRGBSA-N; the U.S. National Institutes of
Health PubChem Compound Identifier (CID) for sucrose is 5988; and the Chemical Abstracts
Service (CAS) Number of sucrose is 57-50-1.


Sugar described in the previous paragraph includes products of all polarimeter readings described
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in various forms, such as raw sugar, estandar or standard sugar, high polarity or semi-refined
sugar, special white sugar, refined sugar, brown sugar, edible molasses, desugaring molasses,
organic raw sugar, and organic refined sugar. Other sugar products, such as powdered sugar,
colored sugar, flavored sugar, and liquids and syrups that contain 95 percent or more sugar by dry
weight are also within the scope of the AD Agreement.


The scope of the AD Agreement does not include (1) sugar imported under the Refined Sugar Re-
Export Programs of the U.S. Department of Agriculture (This exclusion applies to sugar imported
under the Refined Sugar Re-Export Program, the Sugar-Containing Products Re-Export Program,
and the Polyhydric Alcohol Program administered by the U.S. Department of Agriculture); (2)
sugar products produced in Mexico that contain 95 percent or more sugar by dry weight that
originated outside of Mexico; (3) inedible molasses (other than inedible desugaring molasses
noted above); (4) beverages; (5) candy; (6) certain specialty sugars; and (7) processed food
products that contain sugar (e.g., cereals). Specialty sugars excluded from the scope of the AD
Agreement are limited to the following: caramelized slab sugar candy, pearl sugar, rock candy,
dragees for cooking and baking, fondant, golden syrup, and sugar decorations.


Merchandise covered by the AD Agreement is typically imported under the following headings of
the HTSUS: 1701.12.1000, 1701.12.5000, 1701.13.1000, 1701.13.5000, 1701.14.1000,
1701.14.5000, 1701.91.1000, 1701.91.3000, 1701.99.1010, 1701.99.1025, 1701.99.1050,
1701.99.5010, 1701.99.5025, 1701.99.5050, and 1702.90.4000. The tariff classification is
provided for convenience and customs purposes; however, the written description of the scope of
the AD Agreement is dispositive.


4. In accordance with newly-added Section VII.C.6 of the amended AD Agreement, Commerce
requests that CBP inform the importing public of the following requirements for the importation of
Other Sugar (as defined in the amended AD Agreement and the amended CVD Agreement, as
follows:


Other Sugar may enter the Customs territory of the United States if the following conditions are
met:


Exporters of Other Sugar are required to ensure, through inclusion of obligations in their sales
contracts or otherwise, that importers of record of such Other Sugar agree to ensure that Other
Sugar is tested for polarity by a laboratory approved by U.S. Customs and Border Protection
(CBP) upon entry into the United States, with samples drawn in accordance with CBP standards,
and that the importers of record agree to report the polarity test results for each entry to the
Department of Commerce within 30 days of entry. Such polarity test reports must be filed on the
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official records of the Department of Commerce for both this AD Agreement and the CVD
Agreement. For clarity, sampling will be done in accordance with CBP standards (e.g., CBP
Directive No. 3820-001B), or its successor directive as agreed by the Department and the
Signatories, including the CBP requirement that the polarity level of an entry will be the average of
the samples from that entry.


5. If there are any questions by the importing public regarding this message, please contact the
Call Center for the Office of AD/CVD Operations, Enforcement and Compliance, International
Trade Administration, U.S. Department of Commerce at (202) 482-0984. CBP ports should submit
their inquiries through authorized CBP channels only. (This message was generated by
E&C/P&N/OP/BAU: DC.)


6. There are no restrictions on the release of this information.


Alexander Amdur




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                                        COMPANY DETAILS
*Party Indicator Value
I= Importer, M= Manufacturer, E= Exporter, S= Sold to Party




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